                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                 3:15-CR-00121-RJC-DSC



 USA                                      )
                                          )
    v.                                    )               ORDER
                                          )
 JORGE SOSA                               )
                                          )
       THIS MATTER is before the Court upon remand from the United States Court of

Appeals for the Fourth Circuit for an evidentiary hearing on whether appellate counsel has a

conflict of interest, and if so, whether the defendant knowingly and voluntarily waived it. (Doc.

No. 1173: Order).

       IT IS, THEREFORE, ORDERED that the United States Marshal have Jorge Sosa

(Reg. No. 30145-058) present in Charlotte, North Carolina forthwith, but not later than February

16, 2018, at 10 a.m. for an evidentiary hearing.

       The Clerk is directed to certify copies of this Order to the defendant; appellate counsel

for the defendant, W. Rob Heroy; the United States Attorney; and the United States Marshals

Service.

           Signed: January 5, 2018




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